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KWWSVZZZFHUWLILHGSURWUDFNLQJQHW5HSRUWV7UDQVDFWLRQ6HDUFKDVS[                                                               
From: Nobody <SMTP:nobody@informe.org>
Sent: 4/9/2021 2:25:53 PM
To: WALZ_FAY
WALZ ID: 256_WALZ_FAY@covius.com
[EXTERNAL EMAIL from outside the organization. DO NOT click links or open
attachments unless you recognize the sender and know the content is safe. Never
give out your user ID or password.]

Your pre-foreclosure reporting form has been successfully submitted to the Bureau
of Consumer Credit Protection. Here is a copy of your submission.
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Mortgage Information
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Company providing the notice:Fay Servicing, LLC
Owner of the mortgage:U.S. Bank Trust National Association not in its individual
capacity but solely as Trustee of LSRMF M
What term best describes the owner of the mortgage?:Non-bank mortgage company
Filer's Email Address:WALZ_FAY@lenderlive.com
Contact information for persons having the authority to modify the mortgage to
avoid foreclosure:Matt Donovan 440 S. LaSalle Street - Suite 2000 Chicago, IL
60605 312-291-3589 MDonovan@faymtg.com

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Consumer Information
-----
Consumer   First name:LINDA
Consumer   Middle Initial/Middle Name:
Consumer   Last name:MORIN
Consumer   Suffix:
Property   Address line 1:7 Ln Rd
Property   Address line 2:
Property   Address line 3:
Property   Address City/Town:Greene
Property   Address State:
Property   Address zip code:04236
Property   Address County:Androscoggin
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Notification Details
-----
Date notice was mailed:4/9/2021
Amount needed to cure the default:88087.14
Consumer Address line 1:7 LANE ROAD
Consumer Address line 2:
Consumer Address line 3:
Consumer Address City/Town:GREENE
Consumer Address State:ME
Consumer Address zip code:04236
From: Nobody <SMTP:nobody@informe.org>
Sent: 4/9/2021 2:25:44 PM
To: WALZ_FAY
WALZ ID: 256_WALZ_FAY@covius.com
[EXTERNAL EMAIL from outside the organization. DO NOT click links or open
attachments unless you recognize the sender and know the content is safe. Never
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avoid foreclosure:Matt Donovan 440 S. LaSalle Street - Suite 2000 Chicago, IL
60605 312-291-3589 MDonovan@faymtg.com

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Consumer Information
-----
Consumer   First name:Robert
Consumer   Middle Initial/Middle Name:
Consumer   Last name:Morin
Consumer   Suffix:
Property   Address line 1:7 Ln Rd
Property   Address line 2:
Property   Address line 3:
Property   Address City/Town:Greene
Property   Address State:
Property   Address zip code:04236
Property   Address County:Androscoggin
-----
Notification Details
-----
Date notice was mailed:4/9/2021
Amount needed to cure the default:88087.14
Consumer Address line 1:7 Lane Road
Consumer Address line 2:
Consumer Address line 3:
Consumer Address City/Town:Greene
Consumer Address State:ME
Consumer Address zip code:04236
